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15   Attorneys for Defendants THE CITY OF BERKELEY,
     CALIFORNIA, and PAUL BUDDENHAGEN
16
                                 UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
                                    SAN FRANCISCO DIVISION
19
     REALPAGE, INC.,                               Case No. 3:25-cv-03004-JSC
20
                   Plaintiff,                      [PROPOSED] ORDER DENYING
21                                                 PLAINTIFF’S MOTION FOR
           v.                                      TEMPORARY RESTRAINING ORDER
22                                                 AND ORDERING PARTIES TO MEET
     THE CITY OF BERKELEY, CALIFORNIA,             AND CONFER REGARDING
23   and PAUL BUDDENHAGEN, CITY                    SCHEDULE
     MANAGER OF BERKELEY,
24   CALIFORNIA, in his official capacity,         Date:       April 16, 2025
                                                   Time:       11:30 a.m.
25                 Defendants.                     Dept.:      8—19th Floor (via Zoom)
                                                   Judge:      Hon. Jacqueline Scott Corley
26
                                                   Date Filed: April 2, 2025
27
                                                   Trial Date: Not Set
28


                [PROPOSED] ORDER DENYING MOTION FOR TEMPORARY RESTRAINING ORDER
                                      Case No. 3:25-cv-03004-JSC
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 1          On April 16, 2025, the Court held a hearing on Plaintiff RealPage, Inc.’s Application for a

 2   Temporary Restraining Order. Having considered the motion and supporting papers, arguments

 3   of the parties, and the pleadings and other papers on file in this matter, and in light of the City

 4   Attorney’s representation that she will not enforce the challenged ordinance against Plaintiff until

 5   such time as the Court resolves Plaintiff’s motion for preliminary injunction, or for 60 days if no

 6   such motion is filed within that time, the Court hereby DENIES RealPage, Inc.’s application for a

 7   temporary restraining order.

 8          The Court further ORDERS that RealPage shall file any preliminary injunction motion by

 9   _________, 2025, after which filing the parties shall meet and confer regarding a proposed

10   briefing schedule for the motion and proposed schedule for any necessary expedited discovery.

11   The parties shall submit a joint scheduling proposal to the Court by _________, 2025.

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13          IT IS SO ORDERED.

14
      DATED:
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16                                                       Hon. Jacqueline Scott Corley
                                                         U.S. District Judge
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               [PROPOSED] ORDER DENYING MOTION FOR TEMPORARY RESTRAINING ORDER
                                     Case No. 3:25-cv-03004-JSC
